      Case 1:03-md-01570-GBD-SN Document 9298 Filed 08/16/23 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11, 2001        03 MDL 1570 (GBD)(SN)


This document relates to:
Bakahityar Kamardinova, et al. v. Islamic Republic of Iran, No. 1:18-cv-05339 (GBD) (SN)
Alexander Jimenez, et al. v. Islamic Republic of Iran, No. 1:18-cv-11875 (GBD) (SN)
Marinella Hemenway, et al. v. Islamic Republic of Iran, No. 1:18-cv-12277 (GBD) (SN)
August Bernaerts, et al. v. Islamic Republic of Iran, No. 1:19-cv-11865 (GBD) (SN)
Jeanmarie Hargrave, et al. v. Islamic Republic of Iran, No. 1:20-cv-09387 (GBD) (SN)
Michael Bianco, et al. v. Islamic Republic of Iran, No. 1:20-cv-10902 (GBD) (SN)
Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN)
Justin Strauss, et al. v. Islamic Republic of Iran, No. 1:22-cv-10823 (GBD) (SN)

    [PROPOSED] ORDER OF PARTIAL FINAL JUDGMENTS IN THE ABOVE-
  CAPTIONED MATTERS FOR LIABILITY FOR STRAUSS PLAINTIFFS AND FOR
  DAMAGES ON BEHALF OF THE PLAINTIFFS IDENTIFIED IN EXHIBITS A AND
                            EXHIBITS B

        Upon consideration of the evidence and arguments submitted by Plaintiffs identified in

Exhibits A-1 to A-4 (collectively, “Exhibits A”) and Exhibits B-1 to B-7 (collectively, “Exhibits

B”) to this Order through their Motion for Partial Final Judgment against the Defendant Islamic

Republic of Iran (“Iran”), as to liability for all Plaintiffs named in Justin Strauss, et al. v. Islamic

Republic of Iran, No. 1:22-cv-10823 (GBD) (SN), and as to damages for certain Plaintiffs in the

above-captioned matters who are each a spouse, parent, child, or sibling (or the estate of a

spouse, parent, child, or sibling) of a victim killed in the terrorist attacks on September 11, 2001,

as specifically identified in attached Exhibits A, or who are each an estate of an individual who

was killed in the terrorist attacks on September 11, 2001, as specifically identified in the attached

Exhibits B, and the judgment by default for liability against Iran entered as follows:




                                                  -1-
docs-100618855.1
      Case 1:03-md-01570-GBD-SN Document 9298 Filed 08/16/23 Page 2 of 4




CASE NAME                    CASE NO.               DATE MOTION            ECF NO. OF MOTION
                                                    FOR LIABILITY          FOR LIABILITY THAT
                                                    WAS GRANTED            WAS GRANTED

Bakahityar                   No. 1:18-cv-05339      06/21/2019             ECF No. 4596
Kamardinova, et al. v.       (GBD) (SN)
Islamic Republic of Iran
Alexander Jimenez, et        No. 1:18-cv-11875      09/03/2019             ECF No. 5056
al. v. Islamic Republic of   (GBD) (SN)
Iran
Marinella Hemenway, et       No. 1:18-cv-12277      09/03/2019             ECF No. 5054
al. v. Islamic Republic of   (GBD) (SN)
Iran
August Bernaerts, et al.     No. 1:19-cv-11865      01/04/2022             ECF No. 7522
v. Islamic Republic of       (GBD) (SN)
Iran
Jeanmarie Hargrave, et       No. 1:20-cv-09387      01/04/2022             ECF No. 7522
al. v. Islamic Republic of   (GBD) (SN)
Iran
Michael Bianco, et al. v.    No. 1:20-cv-10902      01/04/2022             ECF No. 7522
Islamic Republic of Iran     (GBD) (SN)
Susan M. King, et al. v.     No. 1:22-cv-05193      Motion is pending at   Motion is pending at
Islamic Republic of Iran     (GBD) (SN)             ECF No. 9147           ECF No. 9147


; together with the entire record in this case, it is hereby:

        ORDERED that service of process was properly effected upon Iran in accordance with

28 U.S.C. § 1608(a) for sovereign defendants and 28 U.S.C. § 1608(b) for agencies and

instrumentalities of sovereign defendants;1 and it is further

        ORDERED that the motion for judgment by default against Iran on behalf of the

Plaintiffs in the above-captioned matters is GRANTED and judgments as to liability are entered

in favor of all plaintiffs against Iran in the following cases:




1
  This only applies for the plaintiffs in this motion in the above-referenced 2018 matters, and for
all plaintiffs in Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN)
and Justin Strauss, et al. v. Islamic Republic of Iran, No. 1:22-cv-10823 (GBD) (SN).

                                                   -2-
docs-100618855.1
      Case 1:03-md-01570-GBD-SN Document 9298 Filed 08/16/23 Page 3 of 4




CASE NAME                                               CASE NUMBER

Justin Strauss, et al. v. Islamic Republic of Iran      No. 1:22-cv-10823 (GBD) (SN)

; and it is further

        ORDERED that partial final judgment is entered against Iran on behalf of those

Plaintiffs in the above-captioned matters who are identified in the attached Exhibits A who are

each a spouse, parent, child or sibling (or the estate of a spouse, parent, child, or sibling) of

individuals killed in the terrorist attacks on September 11, 2001, as indicated in Exhibits A; and

it is further

        ORDERED that Plaintiffs identified in Exhibits A are awarded solatium damages of

$12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and $4,250,000 per sibling,

as set forth in Exhibits A; and it is further

        ORDERED that partial final judgment is entered against Iran on behalf of the Plaintiffs

in the above-captioned matters, as identified in the attached Exhibits B, who are each the estate

of a victim of the terrorist attacks on September 11, 2001, as indicated in the attached Exhibits B;

and it is further

        ORDERED that Plaintiffs identified in the attached Exhibits B are awarded

compensatory damages for decedents’ pain and suffering in an amount of $2,000,000 per estate,

as set forth in the attached Exhibits B; and it is further

        ORDERED that Plaintiffs identified in the expert reports submitted in support of the

Declaration of Jerry S. Goldman, Esq. (“Goldman Declaration”) are awarded economic damages

as set forth in the attached Exhibits B and as supported by the expert reports and analyses

tendered in conjunction with the Goldman Declaration; and it is further




                                                  -3-
docs-100618855.1
      Case 1:03-md-01570-GBD-SN Document 9298 Filed 08/16/23 Page 4 of 4




         ORDERED that Plaintiffs identified in Exhibits A and Exhibits B are awarded

prejudgment interest of 4.96 percent per annum, compounded annually, running from September

11, 2001 until the date of judgment; and it is further

         ORDERED that Plaintiffs identified in Exhibits A and Exhibits B may submit an

application for punitive damages, economic damages, or other damages (to the extent such

awards have not previously been ordered) at a later date consistent with any future rulings made

by this Court on this issue; and it is further

         ORDERED that the remaining Plaintiffs in the above-captioned matters not appearing in

Exhibits A and Exhibits B may submit in later stages applications for damages awards, and to the

extent such plaintiffs are similarly situated to those appearing in Exhibits A and Exhibits B, the

applications will be approved consistent with those approved herein for the Plaintiffs appearing

in Exhibits A and Exhibits B.

         Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion

at ECF No. 9295.

                                                 SO ORDERED:



                                                 GEORGE B. DANIELS
                                                 United States District Judge
Dated:    New York, New York
          _____________, 2023




                                                 -4-
docs-100618855.1
